Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 1 of 42 PageID# 6149



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division
 ____________________________________
                                      )
 Anas ELHADY, et al.,                 )
                                      )
       Plaintiffs,                    )
                                      )
 v.                                   )     Case No. 1:16-cv-375 (AJT/JFA)
                                      )
 CHARLES H. KABLE, et al.,            )
                                      )
       Defendants.                    )
 ____________________________________)

                     DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                          SECOND MOTION TO COMPEL



 TRACY DOHERTY-MCCORMICK                     AMY POWELL
 Acting United States Attorney               DENA ROTH
                                             ANTONIA KONKOLY
 CHAD A. READLER                             CHRISTOPHER HEALY
 Acting Assistant Attorney General           Trial Attorneys, Federal Programs Branch
 Civil Division                              United States Department of Justice
                                             Civil Division, Federal Programs Branch
 ANTHONY J. COPPOLINO
 Deputy Director, Federal Programs Branch    LAUREN A. WETZLER
                                             Chief, Civil Division
                                             Assistant United States Attorney
                                             2100 Jamieson Ave.,
                                             Alexandria, VA 22314
                                             Tel: (703) 299-3752
                                             Fax: (703) 299-3983
                                             Lauren.Wetzler@usdoj.gov

                                             Attorneys for Defendants
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 2 of 42 PageID# 6150



                                                         TABLE OF CONTENTS
 INTRODUCTION ........................................................................................................................................... 1
 PROCEDURAL BACKGROUND ............................................................................................................... 2
 LEGAL STANDARDS .................................................................................................................................... 8
             I.          Federal Rule of Civil Procedure 37 and 26 ......................................................................... 8
             II.         The Law Enforcement Privilege. ......................................................................................... 9
             III.        The Sensitive Security Information (SSI) Privilege .........................................................11
 ARGUMENT...................................................................................................................................................13
             I.          Some of the Information Which Plaintiffs Move to Compel is Duplicative of
                         Their First Motion to Compel, Pending before the District Judge Court. .................14
             II.         Information Which Plaintiffs Move to Compel is Untimely, Irrelevant,
                         Duplicative, Burdensome, Outside the Scope of this Court’s 30(b)(6)
                         Protective Orders, and Privileged. ....................................................................................18
                         A.          Significant Portions of this Motion Are Untimely or Fail for Other
                                     Threshold Reasons..................................................................................................18
                         B.          The Remainder of the Information Plaintiffs Seek is Irrelevant,
                                     Duplicative, Mooted by Information Provided by Defendants,
                                     Outside the Scope of Proper 30(b)(6) Questioning Under this Court’s
                                     Protective Order, and/or Privileged. ..................................................................21
                                     i. Information Regarding the Watchlisting Advisory Council ........................21
                                     ii. Information Sought From FBI/TSC ............................................................. 25
                                     iii. Information Sought From CBP ......................................................................31
                                     iv. Information Sought From TSA ...................................................................... 36
 CONCLUSION ............................................................................................................................................... 38
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 3 of 42 PageID# 6151



                                         INTRODUCTION
         Plaintiffs have moved to compel a long—and largely ill-defined—“laundry list” of

 information, purportedly in response to refusals to answer questions during four Rule 30(b)(6)

 depositions. See Pls.’ 2d Mot. to Compel (“Pls.’ 2d Mot.”), Dkt. No. 170 (updated memorandum).

 This characterization is largely inaccurate: most of the information sought by this motion is

 information that Plaintiffs requested, and had an opportunity to compel, months ago. Now, many

 weeks after the close of discovery, Plaintiffs attempt to use this Court’s limited-purpose extension of

 discovery for the Rule 30(b)(6) depositions as a backdoor method through which to conduct further

 discovery that could have, and should have, been timely pursued during the discovery period.

         Plaintiffs admit that much of the information they seek “overlaps with many of the same

 topics” as their first motion to compel, which will be heard by District Judge Trenga. See id. at 1.

 There is no justification for seeking to compel the same type of information twice. Much of the

 information on which Plaintiffs now move is entirely irrelevant to the sole remaining procedural due

 process claim and is protected by the law enforcement or Sensitive Security Information (“SSI”)

 privileges.

         This motion should therefore be denied, because: several of these issues are currently

 pending before the district judge; the motion is untimely; the information they seek is in large part

 irrelevant to their claim and/or burdensome; several requests have now been mooted; several items

 are outside the scope of the 30(b)(6) protective orders of this Court; and the remaining information

 sought is protected by the law enforcement privilege and the SSI privilege. Disclosure of the law

 enforcement privileged information, even under a protective order, risks harm to ongoing

 investigations and law enforcement interests. With respect to the SSI, this Court lacks jurisdiction to




                                                    1
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 4 of 42 PageID# 6152



 review the TSA Final Order that these documents contain SSI, and Plaintiffs have not sought

 disclosure under a protective order or made the necessary showing to obtain such information. 1

                                  PROCEDURAL BACKGROUND

         The procedural due process challenge is the only remaining claim in this case, and it presents

 relatively narrow issues: what process (notice and an opportunity to respond), if any, is constitutionally

 required for a person seeking redress for alleged placement on a terrorist watchlist. That issue can

 and should be resolved without the need for the excessive discovery and discovery litigation that

 continues to unfold in this case.

         The procedural background to this case has been set forth at greater length in other filings,

 to which Defendants respectfully refer the Court for a more complete statement. See, e.g., Dkt. Nos.

 128, 178. As relevant here, last fall, Plaintiffs served extensive written discovery on Defendants,

 including extensive requests for admission and requests for production (“RFPs”). Defendants

 timely served both objections and responses to these requests. Importantly for various aspects of

 this motion, in responding to Plaintiffs’ RFPs, Defendants clearly articulated the parameters of the

 searches they conducted, and also clearly stated in their responses where they stood on their

 objections and would not conduct any search. See Defendants’ Exhibits (“DEX”) 24, Defs.’ Obj. to

 Pls.’ 1st Request for Prod. Of Docs. to TSC; DEX 25, Defs.’ Resps. to Pls.’ 2d Request for Prod.



 1
   Defendants do not believe that the present motion requires an assertion of the state secrets
 privilege, either because Plaintiffs specifically exclude classified information protected by the
 privilege or because Plaintiffs have not identified and requested the specific documents or
 information they are seeking. Defendants cannot formulate an assertion of the state secrets privilege
 over vague topic areas or categories without more information about what Plaintiffs are specifically
 seeking. In any event, the motion was filed on April 13, 2018 and there has not been time to fully
 explore the applicability of the state secrets privilege to vague topics on which Plaintiffs have
 moved. Formal assertion of the state secrets privilege requires numerous, lengthy and detailed
 review procedures, including actual personal consideration by the Attorney General of the United
 States. See Def’s Opp. to Pl’s. 1st MTC, at 32 n.23. To the extent Plaintiffs identify information with
 more specificity or the Court orders the search and production of documents, Defendants retain the
 right to assert that privilege.
                                                     2
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 5 of 42 PageID# 6153



 Of Docs. to TSC. At no point during the discovery period did Plaintiffs state any objection

 whatsoever to either of these aspects of Defendants’ discovery responses.

        At the very end of the discovery period, Plaintiffs served interrogatories on the Federal

 Bureau of Investigation (“FBI”) and the Terrorist Screening Center (“TSC”). Defendants timely

 objected and responded to these interrogatories. DEXs 21, 22 (Defs.’ Obj. to Pls.’ First Sets of

 Interrogatories to TSC and FBI). Plaintiffs never sought a meet and confer about the interrogatory

 responses at any time before or after the close of discovery.

        Three weeks prior to the close of discovery, Plaintiffs noticed a single Rule 30(b)(6)

 deposition of TSC, and shortly thereafter the Court granted Defendants’ motion for a protective

 order limiting the questioning topics for that deposition. See Dkt. No. 121. The Court limited

 Defendants’ topics for the TSC deposition to eight topics. 2 Id.; DEX 23 (Feb. 16, 2018 Hrng. Tr.).

 At the very last possible moment, ten days prior to the close of discovery, Plaintiffs noticed three

 new Rule 30(b)(6) depositions, of the FBI, the Transportation Security Administration (“TSA”), and

 U.S. Customs and Border Protection (“CBP”). The Court granted in part and denied in part

 Defendants’ motion for a protective order, permitting most of Plaintiffs’ topics to go forward with

 limitations articulated in a ruling from the bench. Dkt. No. 147; DEX 1 (March 16, 2018 Hrng Tr.).




 2
   The Court limited the scope of the deposition to the following topics, proposed by Defendants: (1)
 TSC’s role in the TSDB nominations process (including generally TSC’s understanding of how and
 why individuals are placed in the TSDB); (2) TSC’s role in the redress process (excluding the revised
 redress process for US Persons on the No Fly List); (3) TSC’s role in terrorism watchlisting in
 general. (4) Measures TSC undertakes to ensure accuracy and reliability of the TSDB; (5) Categories
 of information stored in the TSDB; (6) TSC sharing of information from the TSDB with other
 entities, including TSC’s role or responsibility in dissemination and control of such information, the
 identities of entities that receive exports of TSDB information, and knowledge TSC has about the
 expected uses of such information; (7) Training provided by TSC to persons who work on TSDB
 nominations, acceptance, rejections, and removals; and (8) The content of the Overview document
 (see bates numbers Elhady-FBITSC-001947-56), including the standards for inclusion in the TSDB
 (excluding the No Fly List standards). Dkt. No. 101-1.


                                                    3
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 6 of 42 PageID# 6154



 The Court also granted an extension of discovery for the sole purpose of taking previously noticed

 depositions, and not for any other purpose. See Dkt. No. 123.

        On March 15, 2018, Plaintiffs moved to compel over 100 documents and other pieces of

 information, as part of an “omnibus” motion to compel. See Dkt. No. 139 (“Pls.’ 1st Mot.”). They

 now move separately to compel the following information, which, purportedly, the Government

 “was either unable or unwilling to orally provide during four 30(b)(6) depositions,” see Pls.’ 2d Mot.

 at 1. Although Plaintiffs’ motion is not a model of clarity—and indeed, is frequently confusing to

 the point of opacity—regarding the discrete information it seeks to compel, in order to assist the

 Court in its resolution of the motion, Defendants have organized the information that, construed

 broadly, they understand the motion to place at issue, by agency, below 3

 Information Duplicative with First Motion to Compel, Including Information about the
 Watchlisting Guidance:

          1. A copy of the 2015 Watchlisting Guidance, or answers to “plaintiffs’ substantive
             questions” about the 2015 Watchlisting Guidance. Pls.’ 2d Mot at 7.
          2. “[C]riteria for the Selectee list and how those standards have changed over time.” Pls.’
             2d Mot. at 9.
          3. Whether relatives or associational relationships could form the basis for nomination to
             the TSDB. Id. at 9–10.
          4. “[W]hether U.S. persons can be added to the [TSDB] absent an investigative interest.”
             Id. at 10.
          5. Whether there are minor children in the TSDB. Id at 10-11.
          6. Why the “exception to the ‘reasonable suspicion’ standard exists” and “how it is
             applied” by different agencies. Id. at 11.



 3
   In particular, Plaintiffs are frequently unclear which pieces of information they are using
 illustratively, versus which pieces of information they actually wish to compel. For example, at one
 point Plaintiffs state that the information they are moving to compel from TSA is limited to three
 discrete items, see Pls.’ 2d Mot. at 22, but elsewhere they describe other information, in excess of
 those three, that they are, apparently, additionally seeking to compel from the same agency. See id. at
 20-21 (requesting statistics on TSA screenings). Nonetheless, for the purpose of compiling this list,
 and for the aid of the Court, Defendants have attempted to construe Plaintiffs’ motion broadly.
 However, in doing so, Defendants do not waive any applicable objections or arguments regarding
 the scope and/or imprecision of Plaintiffs’ requests.
                                                    4
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 7 of 42 PageID# 6155



          7. The “DOJ Memo from Deputy Attorney General to Heads of Department
             Components [r]e: Department of Justice Protocol Regarding Terrorist Watchlist
             Nominations. TSC D0044; Id. at 7-8.
          8. Information about how the “Watchlisting Guidance has changed over time.” Id. at 7.
          9. A copy of the “oldest version of the Watchlisting Guidance.” Id.
          10. A revised Watchlisting Guidance from 2010. Id.
          11. The 2013 Watchlisting Guidance, a purportedly leaked copy of which Plaintiffs believe
              they already possess. Id.
          12. A 2009 Protocol Regarding Terrorist Nominations. Id. at 8.
 Information about the Watchlisting Advisory Council:
          13. More information on the Watchlisting Advisory Council, including “how the FBI
              relates to or participates on the Watchlisting Advisory Council” and “how that Council
              relates to either the National Security Council or its participant agencies.” Id. at 3.

          14. What the Watchlisting Advisory Council is and how it operates. Id. at 4.
          15. When and how the Watchlisting Advisory Council came into existence. Id. at 4-5.
          16. The “charter document(s) establishing the Watchlisting Advisory Council.” Id. at 6.
          17. The number of agencies and names of the members of the Watchlisting Advisory
              Council. Id. at 5.
          18. FBI’s definition of “known or suspected terrorist,” and the difference between that
              definition and the definition of other agencies. Id.
          19. Copies of the Statements/Summaries of Conclusion (SOC’s) of the Watchlisting
              Advisory Council for the past 5 years. Id.
          20. A further 30(b)(6) deposition of the National Counter-Terrorism Center (NCTC). Id.
 Other Information From FBI/TSC:

          21. A non-redacted version of the new Domestic Investigations and Operations Guidelines
              (DIOG) manual. Id. at 12.
          22. “[A]n unclassified summary or a public redacted version of Chapter 11 of the
              Counterterrorism Program Guide. Id.
          23. The policy document that governs National Crime Information Center (“NCIC”)
              dissemination to state and local authorities. Id. at 13.
          24. “[A]ny policy documents governing NCIC dissemination of TSDB information.” Id.
          25. A more exact estimate of the number of authorized individual users of the TSDB. Id.
          26. The “number of NCIC queries run by [individual] NCIC users in the aggregate.” Id.
          27. Information about FBI “handling codes” including the designation of a TSDB
              individual as “armed and dangerous.” Id.



                                                      5
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 8 of 42 PageID# 6156



         28. The “nature of or details surrounding [FBI] handling codes,” including “how many
             codes exist, any handling instructions that accompany the handling codes, or the
             contents of any electronic alerts.” Id. at 15.
         29. “[W]hether FBI share[s] NCIC handling codes with CBP.” Id. at 16.
         30. How “handling codes are disseminated, and how those handling codes operate to
             influence particular responses (i.e. handcuffing, drawing guns, calling in backup, setting
             off sirens or alarms, etc.) by law enforcement officers.” Id.
         31. Whether FBI receives information from CPB secondary inspections including
             information from wallets and the content of electronic devices. Id. at 17.
         32. Whether the FBI is involved in the CBP “secondary inspection process in order to
             question TSDB listees” Id.
         33. “[W]hether the TSDB contains informants, or notations that an individual is an
             informant.” Id. at 19.
         34. How the FBI “use[s] the TSDB to recruit informants.” Id.
         35. The “[n]umber of nominations the FBI makes to the TSDB each year.” Id. at 21.
         36. The “[n]umber of nominations the FBI makes to the TSDB which are accepted.” Id.
         37. The number of nominations the FBI makes to the TSDB “which are rejected for
             failure to provide sufficient substantive derogatory information.” Id.
         38. The “[n]umber of arrests of TSDB individuals the FBI has made at the border or
             points of entry.” Id.
         39. The “[n]umber of individuals who committed an act of terrorism in the U.S. while they
             were on the TSDB.” Id.
         40. The “[n]umber of times the FBI has disclosed in public court filings in terrorism cases
             that the criminal defendant was listed in the TSDB at the time of the incident.” Id.
 Other Information From CBP:

         41. More information on CBP “handling codes,” including “armed and dangerous” Id. at
             14.
         42. “[W]hether CBP officers ever draws weapons or handcuff TSDB listees based solely
             on the fact that they are listees.” Id. at 16.
         43. The procedures applied to TSDB listees during secondary inspection. Id.
         44. Whether CBP “provides information [] learned from an individual’s wallet to [] FBI.”
             Id. at 17.
         45. Whether CBP shares the information downloaded from electronic devices with FBI.
             Id.
         46. “[W]hether CBP involves the FBI in the secondary inspection process in order to
             question TSDB listees.” Id.



                                                  6
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 9 of 42 PageID# 6157



           47. “Additional information” regarding the CBP’s initial and secondary inspection
               procedures that apply to TSDB listees, including the use of weapons and handcuffs, as
               well as the personal information it collects and shares with the FBI or TSC. Id.
           48. Whether “automated high-risk designations have ever lead to the CBP nominating
               individuals to the TSDB.” Id. at 18.
           49. Whether CBP has “ever asked TSDB listees to become informants.” Id. at 19.
           50. “[A]verage number of daily encounters CBP has with individuals on the TSDB.” Id. at
               20.
           51. “[N]umber of individuals listed on the TSDB that the CBP arrested in 2017, and how
               many of those arrests were terrorism related.” Id.
           52. “The number of individuals listed on the TSDB that CBP has arrested in the last 10
               years and the number of arrests that were terrorism related.” Id.
           53. “The number of U.S. citizens listed on the TSDB that the CBP has arrested in the last
               10 years and the number of arrests that were terrorism related.” Id.
 Other Information From TSA:

           54. Additional information about the “rules-based list” system designating passengers as
               “high-risk,” or any examples of what such rules-based lists might entail and “how
               those criteria relate to TSA’s nominations to the watchlist.” Id. at 17-18.
           55. Number of “persons on the Selectee and Expanded Selectee lists.” Id. at 22.
           56. “Average number of enhanced screenings conducted by the TSA each day and each
               year.” Id. at 21.
           57. The number of U.S. citizens on the Selectee and Expanded Selectee lists. Id.
           58. The “[n]umber of enhanced screenings that have led to a terrorism-related arrest.” Id.
           59. The number of “potential matches to the TSDB which the TSA determines after
               evaluation to not to be matches to the TSDB.” Id.

         On April 13, 2018, the parties met and conferred on a list of topics that mostly (although not

 entirely) corresponded with the list of topics on which Plaintiffs have now moved. See DEX 2

 (Email exchange commemorating this conferral). Defendants indicated during this conferral that

 there were some topics on which they might be able to provide additional information, and thus

 narrow or eliminate certain areas of dispute. Where Defendants are now able provide such

 information, they do so in the instant filing, and note infra where they believe the additional

 information narrows the issues herein presented.



                                                    7
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 10 of 42 PageID# 6158



                                          LEGAL STANDARDS

          I.      Federal Rules of Civil Procedure 37 and 26

          Rule 37 of the Federal Rules of Civil Procedure provides that “[a] party seeking discovery

  may move for an order compelling an answer, designation, production, or inspection” if a party fails

  to produce or make available for inspection requested documents under Rule 34. Fed. R. Civ. P.

  37(a)(3)(B)(iv). District courts have substantial discretion in the handling of a motion to compel.

  Lone Star Steakhouse & Saloon, Inc. v. Alpha of Virginia, Inc., 43 F.3d 922, 929 (4th Cir. 1995). Courts

  generally consider motions to compel untimely when they are filed after the discovery deadline. See

  Powell v. Kamireddy, No. 7:13-CV-00267-F, 2015 WL 333015, at *4 (E.D.N.C. Jan. 26, 2015); Wootten

  v. Virginia, No. 6:14-CV-13, 2015 WL 13658068, at *2 (W.D. Va. June 9, 2015); PCS Phosphate Co. v.

  Norfolk S. Corp., 238 F.R.D. 555, 558 (E.D.N.C. 2006); Greene v. Swain County P'ship for Health, 342 F.

  Supp. 2d 442, 449 (W.D.N.C. 2004). Courts occasionally review motions to compel filed after the

  discovery cutoff when the parties are continuing to negotiate supplemental responses and dispositive

  motions deadlines have not been fixed. See, e.g., Ayers v. Continental Cas. Co., 240 F.R.D. 216, 223-25

  (N.D.W. Va. 2007); U.S. ex rel. Purcell v. MWI Corp., 232 F.R.D. 14, 16-17 (D.D.C. 2005). But courts

  seldom review untimely motions to compel when the requesting party easily could have filed a

  timely motion to compel, but simply failed to do so. See, e.g., Wootten, 2015 WL 13658068, at *2; In re

  Sulfuric Acid Antitrust Litig., 231 F.R.D. 331, 339 (N.D. Ill. 2005) (finding a motion to compel as

  untimely and rejecting the moving party’s argument of prejudice because “whatever prejudice they

  suffered was the result of their own inaction”). Untimely motions to compel are less likely to be

  considered when the parties have “had adequate opportunity to perform all the discovery it needed”

  or treated discovery with “unwarranted delay.” Gulfstream Inc. v. PalmYacht Sales, Inc., 176 F.3d 475, at

  4 (4th Cir. 1999); Lone Star Steakhouse & Saloon, Inc., 43 F.3d at 929.\




                                                      8
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 11 of 42 PageID# 6159



          Unless otherwise limited by the court, Rule 26(b)(1) permits discovery of “any nonprivileged

  matter that is relevant to any party’s claim or defense.” Although discoverable information “need

  not be admissible,” Fed. R. Civ. P. 26(b)(1), discovery requests must be “proportional to the needs

  of the case, considering the importance of the issues at stake in theaction, the amount in

  controversy, the parties’ relative access to relevant information, the parties’ resources, the

  importance of the discovery in resolving the issues, and whether the burden or expense of the

  proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(2). Rule 26(b)(2) further

  provides that the Court must limit discovery outside that scope and also where “the discovery

  sought is unreasonably cumulative or duplicative, or can be obtained from some other source that is

  more convenient, less burdensome, or less expensive” and where “the party seeking discovery has

  had ample opportunity to obtain the information.” The Advisory Committee Notes to the 2015

  Amendment emphasize that a “party claiming that a request is important to resolve the issues should

  be able to explain the ways in which the underlying information bears on the issues as that party

  understands them.”

          II.     The Law Enforcement Privilege

          The law enforcement investigatory privilege is “designed to prevent disclosure of

  information that would be contrary to the public interest in the effective functioning of law

  enforcement,” and to “preserve the integrity of law enforcement techniques.” Tuite v. Henry, 181

  F.R.D. 175, 176 (D.D.C. 1998), aff’d, 203 F.3d 53 (D.C. Cir. 1999). “The purpose of th[e] [law

  enforcement] privilege is to prevent disclosure of law enforcement techniques and procedures, to

  preserve the confidentiality of sources, to protect witness and law enforcement personnel, to

  safeguard the privacy of individuals involved in an investigation, and otherwise to prevent

  interference with an investigation.” In re Dep’t of Investigation of the City of N.Y., 856 F.2d 481, 484 (2d

  Cir. 1988). “[T]he reasons for recognizing the law enforcement privilege are even more compelling”


                                                       9
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 12 of 42 PageID# 6160



  when “the compelled production of government documents could impact highly sensitive matters

  relating to national security.” In re U.S. Dep’t of Homeland Sec., 459 F.3d 565, 569 (5th Cir. 2006).

          A proper review of an assertion of the law enforcement privilege involves three steps. 4

  “First, the party asserting the law enforcement privilege bears the burden of showing that the

  privilege indeed applies to the documents at issue” by showing that the documents contain

  information pertaining to law enforcement techniques and procedures, information that would

  undermine the confidentiality of sources, information that would endanger witness and law

  enforcement personnel, information that would undermine the privacy of individuals involved in the

  investigation, or information that would seriously impair the ability of a law enforcement agency to

  conduct future investigations. In re New York City, 607 F.3d 923, 948 (2d Cir. 2010). Second, once

  the privilege is determined to apply, “the district court must balance the public interest in

  nondisclosure against ‘the need of a particular litigant for access to the privileged information.’” Id.

  (quoting In re Sealed Case, 856 F.2d at 272). There is a strong presumption against lifting the privilege

  that may be rebutted only by a showing that the lawsuit is non-frivolous and brought in good faith,

  that the information sought is not available through other discovery or from other sources, and that

  the party has a compelling need for the privileged information. Id. Third, “[i]f the presumption

  against disclosure is successfully rebutted [], the district court must then weigh the public interest in

  nondisclosure against the need of the litigant for access to the privileged information before

  ultimately deciding whether disclosure is required.” Id.



  4
   Because the Fourth Circuit has not directly addressed the standard that a district court should apply
  to evaluate the Government’s assertion of the law enforcement privilege, district courts in this
  Circuit have looked to relevant decisions from sister circuits for guidance. See, e.g., United States v.
  Matish, 193 F. Supp. 3d 585, 597 (E.D. Va. 2016) (citing In re City of New York, 607 F.3d 923, 944 (2d
  Cir. 2010) in evaluating the privilege in a criminal matter); Hugler v. Bat Masonry Co., Inc., No. 6:15-
  CV-28, 2017 WL 1207847, at *4 (W.D. Va. Mar. 31, 2017) (citing, inter alia, In re City of New York, in
  ERISA matter).

                                                      10
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 13 of 42 PageID# 6161



          In response to this second motion to compel, the privilege is supported by the First and

  Second Declarations TSC Deputy Director Timothy P. Groh, DEX 3 (“1st Groh Decl.”), DEX 4

  (“2d Groh Decl.”); the Second Declaration of Assistant FBI Director Michael C. McGarrity, DEX

  5; and the Declaration of CBP Executive Director for Operations Randy Howe, DEX 6. 5 The

  Argument Section, infra, will address the applicability of the privilege to particular requests.

          III.    Sensitive Security Information (SSI)

          District courts may not review challenges to TSA’s SSI determinations, because they

  constitute final agency actions subject to exclusive review in the United States Courts of Appeals. 49

  U.S.C. § 46110(a); Blitz v. Napolitano, 700 F.3d 733 (4th Cir. 2012); Robinson v. Napolitano, 689 F.3d

  888 (8th Cir. 2012); MacLean v. Dep’t of Homeland Sec., 543 F.3d 1145, 1149 (9th Cir. 2008); Lacson v.

  U.S. Dep’t of Homeland Sec., 726 F.3d 170, 173 & n.2 (D.C. Cir. 2013); Elec. Privacy Info. Ctr. v. Dep’t of




  5
    The First Groh Declaration (“1st Groh Decl.”) was executed and submitted in support of
  Defendants’ Opposition to Plaintiffs’ First Motion to Compel. Dkt. No. 178-18 (public redacted
  version). Because the full version of the First Groh Declaration itself contains both information
  that is protected by the law enforcement privilege as well as SSI, it was submitted ex parte and in
  camera to the District Judge, who is deciding Plaintiffs’ First Motion to Compel. See Dkt. No. 179
  (Notice of Lodging). Defendants filed a public, redacted version of the First Groh Declaration on
  the public docket for this case, at Dkt. No. 178-18. Because, as set forth infra, several aspects of
  Plaintiffs’ First Motion to Compel overlap with their Second Motion to Compel, the First Groh
  Declaration is also relevant to the resolution of the instant motion. Accordingly, Defendants are
  again submitting the full version of this declaration ex parte and in camera, this time to the Magistrate
  Judge to whom the instant motion has been referred for resolution. Dkt. No. 191 (Notice of Ex
  Parte, In Camera Submission). The same public, redacted version of this declaration as was previously
  filed at Dkt. No. 178-18 is also attached hereto as DEX 3.
  In addition, Defendants submit a separate, Second Groh Declaration (“2d Groh Decl.”), also in
  support of the instant motion. Because the Second Groh Declaration itself contains information
  that is protected by the law enforcement privilege, Defendants have submitted the full version of
  this declaration to the Magistrate Judge ex parte and in camera. Dkt. Not. 191. Defendants attach a
  public, redacted version of the Second Groh Declaration hereto as DEX 4.

                                                       11
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 14 of 42 PageID# 6162



  Homeland Sec., 928 F. Supp. 2d 139, 146-47 (D.D.C. 2013); Chowdhury v. Northwest Airlines Corp., 226

  F.R.D. 608, 614 (N.D. Cal. 2004). 6

          The Fourth Circuit has conclusively determined that, with respect to challenging a TSA

  Order, that “Congress has spoken — plainly and clearly — that a court of appeals is to hear, in the

  first instance, a challenge to an order of the TSA Administrator. Indeed, we have no authority or

  power to decide otherwise.” Blitz, 700 F.3d at 741. District courts faced with motions to compel the

  disclosure of SSI routinely find that they may not entertain such motions on jurisdictional grounds.

  See, e.g., Elec. Privacy Info. Ctr. v. U.S. Dep’t of Homeland Sec., 928 F. Supp. 2d 139, 146 (D.D.C. 2013)

  (“Judicial review of TSA's determination that certain material is nondisclosable ‘security sensitive

  information’ is available exclusively in federal circuit courts. . . . Accordingly, district courts may not

  review TSA orders that designate material as security sensitive information.”); Chowdhury v. Northwest

  Airlines Corp., 226 F.R.D. 608, 614 (N.D. Cal. 2004) (“Congress has expressly provided that an

  appeal from an order of the TSA pursuant to [49 U.S.C. § 114(r)] (non-disclosure of certain

  information) lies exclusively with the Court of Appeals); Shquierat v. U.S. Airways Group, Inc., No. 07-

  cv-1513-ADM-AJB, 2008 WL 4232018, at *2 (D. Minn. Sept. 9, 2008) (unreported decision)

  (“District Courts are without jurisdiction to entertain challenges to the TSA’s decisions regarding

  disclosure of SSI.”); In re Sept. 11 Litig., 236 F.R. D. 164, 172 (S.D.N.Y. 2006) (“I am ever mindful of

  the important security concerns that have loomed over this litigation from its inception. . . .I have no

  jurisdiction to review TSA’s final orders [regarding SSI]”).

          TSA has issued a Final Order that applies to information sought in this motion. DEX 7

  (TSA Final Order on Sensitive Security Information, Part III–IV). Plaintiffs object to the


  6
   Section 46110 refers to TSA final orders issued pursuant to “subsection (l) or (s) of section 114,”
  but subsection (s) of section 114 was later re-designated as subsection (r). See Consolidated
  Appropriations Act, 2008, Pub. L. No. 110-161, Div. E, § 568(a), 121 Stat. 1844, 2092 (Dec. 26,
  2007).

                                                       12
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 15 of 42 PageID# 6163



  designation of information they seek as SSI, but this Court lacks jurisdiction to entertain that

  argument. 7 Because Congress has provided exclusive jurisdiction in the courts of appeal over

  challenges to TSA’s final orders on SSI, this court lacks jurisdiction to review the TSA Final Order

  of April 23, 2018. In any event, TSA’s Final Order is proper and covers SSI information Plaintiffs

  seek in this motion, as described in the argument below.

                                              ARGUMENT

          Plaintiffs’ motion should be denied, for numerous reasons. As a threshold matter, some of

  the information is duplicative and overlapping with the information they are seeking in their first



  7
   Plaintiffs’ motion only challenges the designation of SSI, it does not request access to SSI under
  Section 525(d) of the Department of Homeland Security Appropriations Act, Pub. L. No. 109-295, §
  525(d), 120 Stat. 1355, 1381-82 (Oct. 4, 2006). Plaintiffs are not authorized, at this juncture, to
  receive and review the SSI at issue, because they have not requested access under Section 525(d),
  despite repeated reminders to do so. See also Dkt. No. 65, at 11 (Defs.’ Opp’n to Motion to Compel,
  describing SSI process); Dkt. No. 56, at 9-10 (Defs’ Mot. for Protective Order, describing SSI
  process). Under that section, persons may seek access to SSI in the context of civil litigation in
  federal district court where they show “substantial need of relevant SSI in the preparation of the
  party’s case” and “that the party is unable without undue hardship to obtain the substantial
  equivalent of the information by other means.” Id. Once the party has made such a showing, that
  party may be designated as a “covered person” to access SSI under the TSA regulations only if the
  presiding “judge enters an order that protects the SSI from unauthorized or unnecessary disclosure
  and specifies the terms and conditions of access,” unless TSA determines after a background check
  or due to the sensitivity of the information that “such access to the information for the proceeding
  presents a risk of harm to the nation.” Id.
  Despite repeated reminders over the course of months about how to request SSI access in
  accordance with Section 525(d), Plaintiffs have failed to even identify which of Plaintiffs’ attorneys
  would like access, let alone make the required showings of substantial need and undue hardship. See
  DEX 8 (Dec. 29, 2017 email from A. Powell to G. Abbas, describing the process to request SSI
  under § 525(d)); DEX 9 (Jan. 8, 2018 email exchange between A. Powell and G. Abbas, in which
  government counsel again described the steps necessary to initiate the clearance process); DEX 10
  (Jan. 24-25, 2018 email exchange in which government counsel noted Defendants had not received a
  response; Plaintiffs’ counsel responded without providing any of the necessary information; and
  government counsel again reiterated the instructions to request access); DEX 11 (Apr. 2, 2018 email
  from C. Healy to G. Abbas, offering to send individual instructions if Plaintiffs could simply identify
  which of Plaintiffs’ counsel were seeking access—which inquiry went unanswered). In a
  conversation on April 26, 2018, Plaintiffs’ counsel confirmed that they had no intention of seeking
  access to SSI under Section 525(d) for information at issue in this motion to compel.


                                                     13
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 16 of 42 PageID# 6164



  motion to compel, which is presently pending before the District Judge. Further, much of the

  information sought is protected as Sensitive Security Information, a determination that this Court

  lacks jurisdiction to review. The remaining information sought by this motion is untimely, vague,

  irrelevant, duplicative, burdensome, outside the scope of the Rule 30(b)(6) questioning granted by

  this Court, and/or validly subject to the law enforcement privilege. Defendants have withheld

  detailed and comprehensive information on topics that, if disclosed, would permit circumvention of

  crucial law enforcement and counterterrorism measures. As described in the declarations of TSC

  Deputy Director Timothy P. Groh, DEX 3-4, Assistant FBI Director Michael C. McGarrity, DEX

  5, and CBP Executive Director for Operations Randy Howe, DEX 6, information in Plaintiffs’

  motion is properly subject to the law enforcement privilege.

     I.          Some of the Information Which Plaintiffs Move to Compel is Duplicative of
                 Their First Motion to Compel, Pending before the District Court.

          As Plaintiffs themselves admit, there is significant “overlap[]” between this motion and their

  first motion to compel, which is concurrently pending before Judge Trenga. Pls.’ 2d Mot.at 1. Of

  particular note, although the 2015 WLG was prominent among the documents that Plaintiffs sought

  to compel in their first motion, Plaintiffs attempt to take a second bite at this same apple—albeit

  before a different judge—by moving here to compel answers to certain “substantive [deposition]

  questions regarding the 2015 [WLG], or in the alternative,” the production of the 2015 WLG itself.

  Pls.’ 2d Mot. at 7. Plaintiffs have already moved to compel this document—which necessarily

  includes all of the information contained within it (including, for example, detailed information

  about nomination and placement, application of the inclusion standards, the Selectee List inclusion

  standards, the exceptions to the reasonable suspicion standard and other information). See Dkt. No.

  139. And Defendants have already opposed Plaintiffs’ First Motion to Compel, explaining, inter alia,

  that this aspect of that motion is untimely, and the information sought is protected by the law

  enforcement privilege and is SSI. See Dkt. No. 178. All of these issues are pending, in the first
                                                    14
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 17 of 42 PageID# 6165



  instance, before Judge Trenga, and should not be decided concurrently (and potentially

  inconsistently) here.

           Further, Plaintiffs’ attempt to camouflage their double-dipping by purporting to distinguish

  between the 2015 WLG itself on the one hand, and “[p]laintiffs’ substantive questions” about the

  contents of that document, on the other, is wholly illusory. Pls.’ 2d Mot. at 7. The effect of this

  request is identical, and involves the same privilege assertion—the 2015 WLG, and its contents, are

  protected by the law enforcement privilege. See 1st Groh Decl.; 2d Groh Decl. ¶¶ 19-23. Aspects of

  the current motion that fall within this umbrella—and thus should be left to the district judge’s

  resolution—include the following specific requests, all of which are already briefed in that other

  motion:

           Criteria for the Selectee list and how those standards have changed over time. Pls.’ 2d Mot.

  at 9. Aside from being duplicative of the first motion to compel and untimely, the information is

  protected by the law enforcement privilege. The Groh Declaration establishes that disclosure of this

  information would provide valuable information to adversaries and undermine law enforcement

  interests. 2d Groh Decl. ¶ 17-18. This information is also SSI, see DEX 7 (Final Order) at Part IV,

  and this court does not have jurisdiction to review TSA’s designation of this information as SSI. See

  supra.

           “[W]hether relative[s] or associational relationships could form the basis for nomination to

  the TSDB.” Pl’s 2d Mot. at 9-10. Again duplicative of the first motion to compel to the extent the

  Court reaches the merits of this request, Defendants have already provided Plaintiffs with the

  “reasonable suspicion” standard that governs nominations to the TSDB. 2d Groh Decl. ¶ 8; DEX

  16 (Overview Document); DeSarno Tr. 239. As explained in the declaration and at multiple

  depositions, the reasonable suspicion standard is based on the totality of the circumstances and no

  single factor is necessarily determinative. 2d Groh Decl. ¶ 8. Moreover, more granular detail about


                                                     15
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 18 of 42 PageID# 6166



  how that standard operates is not relevant to the procedural due process claim—it is not necessary

  or useful to evaluate the adequacy of the redress process available to persons who believe they are in

  the TSDB due to their alleged screening experiences. See generally Fed. R. Civ. P. 26(b)(1) (limiting

  discoverable evidence to what is “relevant . . . and proportional to the needs of the case”).

  Plaintiffs asked about this information during written discovery and did not move to compel any

  responses from Defendants for months after receiving Defendants’ objections. See TSC RFA 20, 21;

  DHS RFA 19, 20. Furthermore, this information is protected by the law enforcement privilege. A

  comprehensive, detailed discussion of hypothetical circumstances is likely impossibly burdensome,

  speculative, and would certainly entail disclosure of information protected by the privilege. 2d Groh

  Decl. ¶ 25.

          “[W]hether U.S. persons can be added to the [TSDB] absent an investigative interest.” Pls.’

  2d Mot. at 10. Again this request is duplicative of the first motion to compel but to the extent the

  Court reaches the merits of this request, Defendants have already provided Plaintiffs with the

  “reasonable suspicion” standard that governs nominations to the TSDB, and FBI provided a partial

  answer to this question at the deposition, confirming that there are in fact circumstances in which

  someone might be in the TSDB and not under investigation. DeSarno Tr. 265-70, 276. Moreover,

  this information is not relevant to the adequacy of the redress process available to persons who

  believe they are in the TSDB. Plaintiffs already attempted to obtain this information during written

  discovery, and did not move to compel responses for months after receiving Defendants’ objections.

  See, e.g., DEX 12 (TSC RFAs 12, 13, 18, 22, 23, 24); DEX 13 (DHS TRP RFAs 21, 22, 23).

  Furthermore, this information is protected by the law enforcement privilege. Additional, sensitive

  information about FBI investigations is wholly unrelated to Plaintiffs’ claims, but would provide

  valuable information to adversaries attempting to learn more about ongoing counterterrorism

  investigations. 2d Groh Decl. ¶ 26.


                                                    16
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 19 of 42 PageID# 6167



          Whether there are minor children in the TSDB. Pls.’ 2d Mot. at 10-11. Again duplicative of

  the first motion to compel and clearly untimely in the face of objections to the first requests for

  admission, the information sought is also irrelevant to the redress process available to persons who

  believe themselves to be on the TSDB. DEX 12, 13 (RFA Responses). Defendants have already

  provided Plaintiffs with the reasonable suspicion standard that governs nominations to the TSDB.

  Furthermore, TSA determined that releasing this information would be detrimental to the security of

  transportation because it could provide terrorists and others with useful demographic information to

  determine populations for recruiting purposes. See DEX 7 (Final Order) Part IV. This Court also

  does not have jurisdiction to review TSA’s SSI determination. Finally, this information is also

  protected by the law enforcement privilege because its disclosure would provide valuable

  information to adversaries seeking to circumvent U.S. counterterrorism measures. 2d Groh Decl. ¶

  37.

          Why the “exception to the ‘reasonable suspicion’ standard exists” and “how it is applied.”

  Pls.’ 2d Mot at 11. Again duplicative of the first motion to compel, Defendants have provided

  testimony about the exception to the “reasonable suspicion” standard, including that it is used only

  for certain, limited screening functions conducted by the Department of Homeland Security

  (“DHS”) and the Department of State. Individuals placed in the TSDB pursuant to these

  exceptions are not considered “known or suspected terrorists” and are not screened as such. A U.S.

  person only in the TSDB pursuant to an exception would not receive additional screening at airports

  on this basis. 2d Groh Decl. ¶ 24; DEX 17 (Groh Tr.) 65, 77; DEX 18 (Howe Tr.) 123-29. This is

  consistent with CBP testimony that there was an exception to the reasonable suspicion standard

  “with regards to immigration matters,” and acknowledged that the exception only applies to “aliens”

  in the CBP context. Howe Tr. at 123-25. Plaintiffs are all U.S. citizens, and therefore the exception

  cannot apply to them in this context. As set forth in the Howe and Groh declarations, the use of


                                                     17
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 20 of 42 PageID# 6168



  these records is law enforcement sensitive, and disclosure would jeopardize law enforcement

  interests. Howe Decl. ¶ 28; see also 2d Groh Decl. ¶ 24.

              The “DOJ Memo from Deputy Attorney General to Heads of Department Components Re:

  Department of Justice Protocol Regarding Terrorist Watchlist Nominations. TSC D0044. Again,

  Plaintiffs already moved to compel this document in their first motion to compel before the District

  Judge and Defendants have argued that is protected by the law enforcement privilege. See Dkt. No.

  139. 8 It is moreover unrelated and unnecessary to Plaintiffs’ claims.

        II.        Information Which Plaintiffs Move to Compel is Untimely, Irrelevant,
                   Duplicative, Burdensome, Outside the Scope of this Court’s Rule 30(b)(6)
                   Protective Orders, and Privileged.

              A.      Significant Portions of this Motion are Untimely, or Fail for Other Threshold
                      Reasons.

              Additionally, many other of Plaintiffs’ requests—primarily, but not exclusively, to compel

  the production of certain documents—fail for a variety of threshold grounds, including: (1) Plaintiffs

  never served Defendants with any RFP to which the document in question even might have been

  responsive in the first place—and thus Defendants are under no obligation under the applicable

  federal discovery rules to run any search, much less produce any document; (2) Plaintiffs never

  challenged the scope of the searches that Defendants agreed to conduct in response to the RFPs

  they did serve; (3) Plaintiffs failed to timely move to compel documents that Defendants included

  on privilege logs produced to Plaintiffs months ago; and/or (4) Plaintiffs failed to discuss the

  document in question during the meet and confer with Defendants prior to filing this motion.

              Specifically, the Court should deny Plaintiffs’ motion on one or more of these grounds as to

  (1) the 2015 Watchlisting Guidance (“2015 WLG”); (2) previous versions of the WLG; (3) Chapter

  11 of the Counterterrorism Policy Guide; 4) Documents governing NCIC and its dissemination; and


  8
      This document is not a prior version of the Guidance and relates primarily to nominations.
                                                       18
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 21 of 42 PageID# 6169



  (4) certain deposition questions that are substantively equivalent to written discovery responses that

  Plaintiffs could have, but failed to, challenge at an earlier point in time.

            First, insofar as the instant motion again seeks to compel the production of the 2015 WLG,

  this document appeared on Defendants’ privilege logs months ago. See DEX 14. Plaintiffs’ request

  was untimely when they moved for it in their initial Motion to Compel, see Dkt. No. 139, and it is

  untimely now. In any event, the matter is before the District Judge.

            Likewise, Defendants listed the Counterterrorism Policy Guide on the privilege log they

  produced to Plaintiffs on November 15, 2017, DEX 14 (Document TSCA00234), and Plaintiffs did

  not attempt to confer with Defendants regarding this document during the written discovery period

  (except insofar as they threatened to move to compel every single document on Defendants’

  privilege logs, en masse 9), nor did they move to compel the production of this document until now.

            Similarly, Plaintiffs have no basis to move to compel prior iterations of the WLG at this

  juncture. Defendants timely objected to searching for previous versions of the WLG during

  discovery (or any previous policy document), specifically stating their objection to “any document

  request that seeks the disclosure of policies and procedures not currently in effect,” as “the

  complaint seeks only injunctive relief and past policies and procedures are not relevant to

  determining whether the process currently available is adequate”—and plainly informing Plaintiff

  that they stood on this and other objections with respect to RFPs that might have potentially

  captured earlier policy documents or versions of the WLG. See DEXs 24, 25 (objecting to

  “Defendants further object to any document request that seeks the disclosure of policies and

  procedures not currently in effect;”). The Court should not excuse Plaintiffs’ failure to raise any

  objection to these responses until the filing of the instant motion. Furthermore, Plaintiffs did not

  move to compel these documents in their first “omnibus” motion to compel, nor did they include


  9
      Plaintiffs’ First Motion to Compel essentially takes that approach.
                                                       19
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 22 of 42 PageID# 6170



  these documents in their meet and confer with Defendants prior to filing this motion. See DEX 1

  (meet and confer exhibit). 10 The prior iterations of the WLG are also not relevant to Plaintiffs’

  claims for prospective relief. Although the Court found that some discussion of the evolution of

  watchlisting over time could be relevant, the court specifically excluded questions about the 2013

  WLG as a topic, reasoning that a deposition was not an “appropriate” way to get such information.

  DEX 23 (Feb. 16 Hrng. Tr. at 22).

          Plaintiffs have also moved to compel documents that govern the NCIC and its

  dissemination, including unspecified NCIC policy documents. Although Plaintiffs had ample

  information about the NCIC and how it functions, see infra Part I.B.ii, Plaintiffs never sought any

  documents governing NCIC and its dissemination during the discovery period. There is no federal

  rule or legal principle that allows them to “compel” documents they never requested, in the first

  instance.

          Fourth, Plaintiffs have also moved for the updated Domestic Investigations and Operations

  Guidelines (“DIOG”) manual, which governs FBI domestic investigations generally but does not

  specifically relate to watchlisting. But the DIOG was never sought in discovery and is not even

  arguably responsive to any of Plaintiffs’ vague and burdensome document requests, and certainly

  does not fall within the scope of documents Defendants agreed to search for and process. See

  DEXs 24, 25. The Court should not permit Plaintiff to use this motion as backdoor method by

  which to issue a wholly new RFP on Defendants, entirely out of time—and should, accordingly,

  reject Plaintiffs’ motion as to the DIOG on this threshold ground.



  10
    The Second Groh Declaration establishes that these documents are also subject to the law
  enforcement privilege, for essentially the same reasons that the 2015 WLG is subject to the privilege.
  Prior versions of the WLG would provide similar insight into the details of the watchlisting
  enterprise and would provide adversaries with a clear picture of how the U.S. terrorism watchlisting
  architecture has progressed, and allow them to deduce the strengths and weaknesses in the process
  for exploitation. 2d Groh Decl. ¶¶ 19-23.
                                                     20
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 23 of 42 PageID# 6171



       B.       The Remainder of the Information Plaintiffs Seek is Irrelevant, Duplicative,
                Mooted by Information Provided by Defendants, Outside the Scope of Proper
                30(b)(6) Questioning Under this Court’s Protective Order, and/or Privileged.

            Other information Plaintiffs seek is duplicative of previous requests, has been mooted by

  information provided to Plaintiffs, is outside the scope of the Rule 30(b)(6) protective orders of this

  Court, or is protected by law enforcement or constitutes SSI. Addressing the remaining information

  Plaintiffs seek (not already addressed above), Defendants oppose Plaintiffs’ motion to compel, as

  follows:

                   i.      Information Regarding the Watchlisting Advisory Council:

            General Information about the WLAC. Plaintiffs seek to compel information, documents,

  and another 30(b)(6) deposition, related to the Watchlisting Advisory Council (“WLAC”), including:

            •   More information on the Watchlisting Advisory Council, including “how the FBI relates
                to or participates on the Watchlisting Advisory Council” and “how that Council relates
                to either the National Security Council or its participant agencies.” Pls.’ 2d Mot. at 3.
            •   What the Watchlisting Advisory Council is and how it operates. Pls.’ 2d Mot. at 4.

            Plaintiffs claim that prior to the 30(b)(6) depositions they did not know that the WLAC

  existed. P Pls.’ 2d Mot. at 2. 11 As an initial matter, if Plaintiffs had timely noticed their five Rule

  30(b)(6) depositions—instead waiting until literally the very last possible moment in the discovery

  period to take four of them—they would have elicited the information they now possess about the

  WLAC at a much earlier point in the discovery process, thus enabling them to timely seek the

  additional WLAC-discovery that they now request dramatically out of time. Plaintiffs have no one

  but themselves to blame for their decision to defer their depositions until the very final hours of



  11
    It should not be surprising that there is an interagency process for addressing interagency concerns
  related to the Terrorist Screening Database. The TSDB is managed by an interagency center (TSC)
  and used by multiple agencies. See generally https://www.fbi.gov/about/leadership-and-
  structure/national-security-branch/tsc; see also DEX 16 (Overview Document). In any event,
  Plaintiffs’ procedural due process claim does not require an in-depth (or even a surface-level)
  understanding of the interagency advisory committee, only an understanding of the actual
  placement, removal and redress policies.
                                                       21
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 24 of 42 PageID# 6172



  discovery, and their lack of even minimal diligence should not be rewarded with the wholly

  unwarranted leniency they now seek.

          Moreover, Plaintiffs have by now conducted four depositions, each of which went on at

  length about the WLAC. See, e.g., DEX 17 (Groh Tr.) 15-19, 21-38, 44-51, 68, 72-74, 89, 113-116,

  220-230, 326, 329, 353, 386; DEX 19 (DeSarno Tr.) 7-48, 56, 65-66, 75, 241, 243, 384; Howe Tr.

  328-31; DEX 20 (Froemling Tr.) 75-76, 125-27, 342-44, 365-66. Plaintiffs claim that deponents

  could not answer all questions about the WLAC. But 30(b)(6) deponents are not required to have

  encyclopedic knowledge about irrelevant minutiae like how meeting agendas are written. Cf. Runnels

  v. Norcold, Itc., No. 1:16-CV-713, 2017 WL 3026915, at *1 (E.D. Va. Mar. 30, 2017). All four

  deponents testified generally about the WLAC, its functions, and their agency’s role. That is all that

  could be required, and any further information sought is not relevant to the sole remaining claim.

          Plaintiffs inaccurately describe the WLAC as the “highest authority of the federal

  government’s watchlisting system.” It is not. It is an interagency meeting, an advisory group of

  interested agencies; it coordinates policy discussions and gives advice. It “does not have the

  authority to approve changes to the Watchlisting Guidance or take any other action that would

  create official federal policy in the area of watchlisting.” 2d Groh Decl. ¶ 43. Instead, it is a

  “predecisional body” that “solicits input from member agencies”, drafts proposed language through

  a consensus driven process, and recommends modifications to the WLG. Id. It operates entirely by

  consensus and reports to the National Security Council. Id.; see also, e.g., Groh Tr. at 28 (testifying

  that the WLAC “creates a forum for interagency discussion about how the watch listing and

  screening enterprise functions amongst the different agencies,” and it operates by unanimous

  consent.).

          The wording of these requests cover information Plaintiffs already have, including that the

  WLAC reports to the NSC, that it is not an agency, that it meets quarterly, that it prepares


                                                      22
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 25 of 42 PageID# 6173



  statements/summaries of conclusions after such meetings, and what general information is included

  in those statements of conclusions (“SOCs”). Pls.’ Second MTC at 2-4. Defendants have also

  provided information responsive to this request in the Groh Declaration. See 2d Groh Decl., Part D.

          Origins of the WLAC. Plaintiffs also seek information about the origins of the WLAC,

  including:

          •       When and how the Watchlisting Advisory Council came into existence. Pls.’ 2d Mot.
                  at 4-5.
          •       The charter document establishing the Watchlisting Advisory Council. Id. at 6.

  The Second Groh Declaration describes how the WLAC came into existence and information about

  its history. See 2d Groh Decl. ¶ 42. Document requests are untimely at this point and in any event,

  not responsive to any prior request and do not fall within the scope of searches Defendants agreed

  to conduct. See DEXs 24, 25. Groh further explains that the charter document Plaintiffs seek (for a

  predecessor interagency body called the TSC Policy Board) is not operative, because the WLAC

  never adopted the charter or developed its own. Id. Thus, aside from being untimely, this

  document is not relevant.

          The number of agencies and names of the members of the Watchlisting Advisory Council.

  Pls.’ 2d Mot. at 5. On further review, Defendants have provided additional information on this

  point. The Groh Declaration explains that WLAC is an “interagency body cochaired by TSC and

  [NCTC]”, comprised of representatives from multiple agencies, including DHS, DOJ, the State

  Department, DOD and CIA. See 2d Groh Decl. ¶ 41. No further level of detail has any arguable

  bearing on Plaintiffs’ claims.

          FBI’s definition of “known or suspected terrorist,” and the difference between that

  definition and the definition of other agencies. Pls.’ 2d Mot. at 5. Plaintiffs cite to a portion of the

  transcript from the FBI deposition in which Plaintiffs’ counsel asked a series of convoluted

  questions that necessitated a clarification of testimony provided. After the portion of the transcript

                                                     23
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 26 of 42 PageID# 6174



  Plaintiffs cite, FBI deponent DeSarno quickly clarified that, in fact, there is a standard definition of

  “known or suspected terrorist” that is shared by the member agencies of the Watchlisting Advisory

  Council for the purposes of watchlisting. See DeSarno Tr. at 259. His description of the reasonable

  suspicion standard is consistent with that in the overview document, the Groh declaration, and

  otherwise publicly available. See 2d Groh Decl. ¶ 8. Plaintiffs cannot generate additional discovery

  by selectively quoting a portion of the transcript that was clarified minutes later.

          Copies of the Statements/ SOCs of the Watchlisting Advisory Council for the past 5 years.

  Pls.’ 2d Mot. at 5. As an initial but dispositive matter, Plaintiffs never sought the WLAC’s SOCS

  during the discovery period—and there is no federal rule of discovery applicable legal principle that

  even arguably permits Plaintiffs to “compel” documents they never sought through discovery in the first

  place. Even setting this insurmountable defect aside, arguendo, this request is also vastly overbroad

  and entirely irrelevant to plaintiffs’ procedural due process claim. SOCs cover a wide variety of

  topics, and although they have not been collected and processed in full, many SOCs include law

  enforcement privileged or classified information about watchlisting. 2d Groh Decl. ¶ 44. They are

  also properly protected by privilege, because revealing their contents would reflect the internal

  deliberative decision-making process of the WLAC, and disclosure would undermine the WLAC’s

  ability to carry out its mission as a forum for inter-agency discussion.

          A further Rule 30(b)(6) deposition of the National Counter-Terrorism Center (NCTC). Pls.’

  2d Mot. at 5. Plaintiffs are not entitled to a new deposition of a Defendant from whom they sought

  no discovery at all. The Amended Complaint contains extensive allegations about NCTC, and

  Plaintiffs are plainly aware that NCTC is a part of the watchlisting process. There is no excuse for

  not seeking a deposition sooner, and it is untimely now. Moreover, Plaintiffs already had an

  opportunity to ask questions about the Watchlisting Advisory Council at the 30(b)(6) depositions,




                                                       24
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 27 of 42 PageID# 6175



  and asked extensive questions about the WLAC at each of four depositions, including a deposition

  of TSC (which also co-chairs WLAC).

                 ii.     Information Sought From FBI/TSC:

         Plaintiffs seek a laundry list of additional information from FBI and TSC.

         A non-redacted version of the new Domestic Investigations and Operations Guidelines

  (DIOG) manual. Pls.’ 2d Mot. at 11. Plaintiffs move to compel a full, unredacted version of the

  DIOG—which is hundreds of pages long and governs all aspects of domestic investigations and

  operations, including FBI administrative processes and personnel functions. As with numerous

  other documents at issue in this motion, Plaintiffs never sought this document in the first instance,

  and have no basis to “compel” it now. See supra Part II.A. Moreover, contrary to Plaintiffs’

  allegations, the DIOG does not even address watchlisting—and thus, is wholly irrelevant. The FBI

  deponent relied on it for a general description of how the FBI conducts its investigations, DeSarno

  Tr. 194-96, 216-17, but this topic is not even remotely relevant to Plaintiffs’ claims. Moreover,

  although portions of the current (2016) DIOG are being processed for release to the public, a

  redacted version of the 2013 DIOG is currently available publicly and Plaintiffs still have not

  identified any aspect of it that is relevant to their sole remaining claim. In any event, the DIOG

  contains information protected by the law enforcement privilege. For example, disclosure of the

  DIOG’s factual scenarios regarding the opening of an Assessment would assist criminals, terrorists

  and foreign adversaries in gauging whether specific conduct in which they have engaged, or plan to

  engage, would cause the FBI to focus its attention on them. This, in turn, could assist them in

  planning operations and compromise ongoing investigations. McGarrity Decl. ¶ 8.

         “[A]n unclassified summary or a public redacted version of Chapter 11 of the Counterterrorism

  Program Guide.” Pls.’ 2d Mot. at 12. Again, this request is untimely and not properly presented, see

  supra Part II.A. This chapter contains classified information (not at issue in the motion), and


                                                    25
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 28 of 42 PageID# 6176



  information that is protected by the law enforcement privilege. It includes information about

  watchlisting nomination and inclusion, including examples of the application of the criteria, the

  Selectee List inclusion standards, handling codes and an explanation of the relationship between

  watchlisting and ongoing investigations. Disclosure of this type of sensitive information could

  reasonably be expected to risk circumvention of the law and to cause harm to law enforcement and

  counterterrorism investigations. McGarrity Decl., Part B.

          Documents and statistics regarding the NCIC. Plaintiffs seek a number of data points

  regarding the NCIC, including:

          •       The policy document that governs National Crime Information Center (“NCIC”)
                  dissemination to state and local authorities. Pls.’ 2d Mot. at 13.
          •       “[A]ny policy documents governing NCIC dissemination of TSDB information.” Id.
          •       A more exact estimate of the number of authorized individual users of the NCIC.
                  Id. 12
          •       The “number of NCIC queries run by [individual] NCIC users in the aggregate.” Id.
          Defendants have provided written discovery about the NCIC and how it functions. See

  DEXs 21, 22 (FBI and TSC interrogatory responses, providing a detailed description of

  dissemination of subsets of TSDB information through NCIC). Prior to the FBI deposition, the

  Court instructed that “some limited testimony” about NCIC would be appropriate, and that

  Plaintiffs should be able to ask questions regarding a “general understanding -- a general statement

  as to who generally has access to that database, state police authorities, probation officers, you

  know, people like that. I mean, just something in general as how that goes would be appropriate.”

  Hearing Tr. at 27. The Court opined, however, that he did not expect such testimony to include “a

  granular level . . . , a general number or anything like that.” Id. And DAD DeSarno in fact provided


  12
    In the portion of the brief about NCIC, Plaintiffs incorrectly state that 18,000 entities have “access
  to the TSDB.” That may be a typographical error, but in any event, it is inaccurate. Defendants
  have explained (via interrogatory response and at depositions) that there are over 18,000 entities
  with access to NCIC, not to the TSDB. See DEX 22 (FBI Int. 12); DeSarno Tr. 102. Defendants
  have further explained that TSC exports subsets of information from the TSDB to NCIC. DEX 21
  (TSC Int. 2, 3). But only personnel assigned to TSC have actual direct access to the TSDB.
                                                     26
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 29 of 42 PageID# 6177



  extensive, detailed testimony on this subject, well beyond what the court held was relevant. See, e.g.,

  DeSarno Tr. 87-103, 113-19, 122-23, 128-30, 137-59, 363. In addition, after meeting and conferring,

  Defendants sent Plaintiffs links to publicly available documents that discuss NCIC dissemination for

  state and local authorities. See National Crime Information Center, available at

  https://www.fbi.gov/services/cjis/ncic; National Crime Information Center Audit, available at

  https://www.fbi.gov/file-repository/ncic-audit.pdf/view.

          Given the extensive information available and the court’s instructions on the proper scope

  of the deposition, further information about NCIC dissemination to state and local authorities is not

  relevant and is untimely. In particular, Plaintiffs have not provided any reason they need an exact

  estimate of the number of individual users of NCIC—they claim they need this information to

  demonstrate the “scope of dissemination,” Pl’s. 2d Mot. at 14, but DeSarno testified that there are

  approximately 18,000 law enforcement entities with access to NCIC, De Sarno Tr. 95-96, and it is

  unclear why this estimate does not satisfy this need. With over 18,000 individual law enforcement

  entities at issue, providing an exact number would be unduly burdensome. Id. 117-18.

          Various information about FBI handling codes. Plaintiffs also seek a number of data points

  about FBI handling codes, including:

              •   Information about FBI “handling codes” including the designation of a TSDB
                  individual as “armed and dangerous.” Id.
              •   The “nature of or details surrounding FBI handling codes,” including “how many
                  codes exist, any handling instructions that accompany the handling codes, or the
                  contents of any electronic alerts.” Id. at 15.
              •   Whether FBI shares NCIC handling codes with CBP. Id. at 16.
              •   How handling codes are disseminated, and “how those handling codes operate to
                  influence particular responses (i.e. handcuffing, drawing guns, calling in backup,
                  setting off sirens or alarms, etc.) by law enforcement officers.” Id.
          As an initial matter, these requests substantially overlap with the first motion to compel,

  which seeks specific documents about FBI handling codes, is currently pending in front of District

  Judge Trenga. These particular requests at issue in the second motion to compel are vague and


                                                     27
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 30 of 42 PageID# 6178



  irrelevant to Plaintiffs’ claim because this information does not pertain to the redress available to

  Plaintiffs or their deprivation of liberty. Plaintiffs have no need for information about internal law

  enforcement handling codes, much less the sort of granular information sought here. And this

  information is outside the scope of the eight limited topics granted in this Court’s March protective

  order for the TSC deposition. See Procedural Background, supra at n.2.

         Finally, this information is also protected by law enforcement privilege. Disclosure of

  information pertaining to handling codes would work to the disadvantage of law enforcement and

  counterterrorism operations and could reasonably be expected to cause significant harm to national

  security. 2d Groh Decl. ¶¶ 29-31; see also, e.g., Miller v. DOJ, 872 F. Supp. 2d 12, 29 (D.D.C. 2012)

  (permitting agency to withhold under FOIA law enforcement numerical database codes used to

  identify information and individuals, as well as codes “relate[d] to procedures concerning the use of

  law enforcement resources and databases ..., as well as case program and access codes”); McRae v.

  DOJ, 869 F. Supp. 2d 151, 169 (D.D.C. 2012) (holding that under FOIA, “codes, case numbers, and

  other computer information pertaining to the TECS, NCIC, and databases maintained by the North

  Carolina authorities are techniques and procedures for law enforcement investigation”); Strunk v.

  DOJ, 905 F. Supp. 2d 142 (D.D.C. 2012) (specifically permitting under FOIA the withholding of

  certain codes in CBP’s TECS database).

         Various Information About the Relationship between FBI and CBP. Plaintiffs seek sensitive

  information about the relationship between FBI and CBP, including:

              •   Whether FBI receives information from CPB secondary inspections, including
                  information from wallets and the content of electronic devices. Pls.’ 2d Mot. at 17.
              •   Whether the FBI is involved in the CBP secondary inspection process “in order to
                  question TSDB listees.” Id.
          These requests are wholly untethered from watchlisting or the remaining claim in this case.

  As explained in the McGarrity Declaration, FBI may assist CBP with border inspections or

  otherwise become involved at the border for a wide variety of reasons, some unrelated to terrorism,

                                                     28
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 31 of 42 PageID# 6179



  but FBI otherwise does not generally conduct border inspections. See McGarrity Decl. ¶ 16. For

  example, CBP may request assistance or there may be some overlap with an FBI investigation.

  Moreover, CBP may share the results of its inspections consistent with general policies, including a

  publicly available policy about electronic devices. See Howe Decl. ¶ 17. Beyond that general

  information, the precise nature of FBI’s interest in border crossings is protected by the law

  enforcement privilege. McGarrity Decl. ¶ 16, 2d Groh Decl., Part E.

          Information About FBI Informants. Plaintiffs seek information about FBI informants,

  including:

               •   Whether the TSDB contains informants, or notations than an individual is an
                   informant. Pls.’ 2d Mot. at 19.
               •   How the FBI “uses the TSDB to recruit informants.” Id.

         These requests are vague, irrelevant to procedural due process, and seek information

  protected by the law enforcement privilege. 2d Groh Decl. ¶ 27-28. At the FBI 30(b)(6) deposition,

  the deponent answered a question about whether “FBI employees place people in the TSDB for the

  purposes of assisting their efforts to recruit those perspective listees as informants” by stating that,

  “No, the FBI just places people in the TSDB who meet this published reasonable suspicion

  standard.” DeSarno Tr. at 365–66. DAD DeSarno further described, to the extent possible in a

  public setting, how TSDB status might evolve. DeSarno Tr. 369. The Second Groh Declaration

  also provides that an individual who does not meet the reasonable suspicion standard cannot be

  included in the TSDB as a KST. 2d Groh Decl. ¶ 8. Thus, an individual could not be listed as a

  KST, No Fly, or Selectee simply because the FBI wishes to recruit or utilize the individual as an

  informant. Also, investigating case agents do not make determinations about placement in the

  TSDB (beyond submitting nominations). In any event, the techniques and methods employed by

  the FBI to recruit and utilize informants clearly falls within the scope of sensitive law enforcement



                                                      29
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 32 of 42 PageID# 6180



  information, the disclosure of which would be extremely valuable to U.S. adversaries and would

  cause harm to law enforcement.

         FBI Statistics. Plaintiffs seek a number of statistics specific to the FBI, including:

                 •   The number of nominations the FBI makes to the TSDB each year. Id. at 20.
                 •   The number of nominations the FBI makes to the TSDB which are accepted. Id.
                 •   The number of nominations the FBI makes to the TSDB “which are rejected for
                     failure to provide sufficient substantive derogatory information.” Id.
                 •   The number of arrests of TSDB individuals the FBI has made at the border or
                     points of entry. Id.
                 •   The number of individuals who committed an act of terrorism in the U.S. while
                     they were on the TSDB. Id.

          This information is irrelevant to the procedural due process claim, because it does not

  pertain to the Plaintiffs’ redress process or deprivation of liberty. The statistical information sought

  has no bearing on the extent of their deprivation or the adequacy of the redress process. Some of

  the information is not tracked by the TSDB (including nominations rejected for failure to provide

  substantive derogatory information and the number of arrests at the border) and would be

  exceedingly burdensome or impossible to generate. 2d Groh Decl. ¶ 32-33.

          Finally, this information is protected by the law enforcement privilege. The Groh

  Declaration establishes that detailed statistics related to nominations and encounters can themselves

  reveal information that would be valuable to terrorists, permitting insight into counterterrorism

  activity. Groh Decl. ¶ 32-39. Additionally, information regarding the number of people meeting

  specific criteria in any given category (e.g., US citizens or minors) that are included in the TSDB

  could be invaluable to terrorists in selecting operatives that are more likely to avoid detection

  because they are less likely to be identified during screening. Id. ¶ 37.

          The number of times the FBI has disclosed in public court filings in terrorism cases that the

  criminal defendant was listed in the TSDB at the time of the incident. Pls’ 2d Mot. at 19. This

  information is irrelevant to the procedural due process claim, because it does not pertain to the

  redress process available to plaintiffs or their deprivation of liberty. Moreover, the FBI did not
                                                      30
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 33 of 42 PageID# 6181



  testify that such filings readily exist, DeSarno Tr. 103-04, and the Groh declaration establishes that

  there is no easy way to determine whether such “public court filings” exist at all. 2d Groh Decl. ¶

  39. Moreover, to the extent this information could be found in public court filings, defendants are

  in no better position than plaintiffs to search for and find this information.

                  iii.    Information Sought From CBP:

          Plaintiffs also seek a laundry list of information specifically from CBP, even though, prior to

  noticing a deposition at the very end of discovery, they had sought almost no discovery from CBP in

  the preceding six months of discovery (except for Plaintiffs’ travel records). Thus, for thi threshold

  reason, the request is untimely.

          More information on CBP “handling codes,” including “armed and dangerous.” Pls.’ 2d

  Mot. at 14. Defendants provided information about handling codes during the depositions, in

  particular that CBP is not responsible for these notations. While CBP acknowledged that an “armed

  and dangerous” designation could be recorded in TECS records, see Howe Tr. at 132-3, it does not

  have a policy which dictates that all individuals who are potential or confirmed matches to the

  TSDB be designated as “armed and dangerous.” Howe Decl. ¶ 12. It is unclear what more

  Plaintiffs seek—and to the extent more information would require detailed information about CBP’s

  specific techniques and procedures, Defendants have properly asserted the law enforcement

  privilege because disclosure of that information would allow known or suspected terrorists to

  deduce potential vulnerabilities in CBP’s inspection efforts and reverse-engineer effective

  countermeasures to thwart inspection efforts. Howe Decl. ¶ 14; 2d Groh Decl. ¶ 48.

          “[W]hether CBP officers ever draw weapons or handcuff TSDB listees based solely on the

  fact that they are listees.” Pls.’ 2d Mot. at 16. CBP has provided the information plaintiffs appear to

  seek—when asked “Is an individual's presence on the TSDB alone a reason that the CBP might

  handcuff them?” the deponent answered “No.” See Howe Tr. at 242. When asked if officers were


                                                     31
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 34 of 42 PageID# 6182



  instructed that drawing weapons was an appropriate response to a match to the TSDB, the

  deponent responded that officers are required to articulate reasons for drawing weapons based on

  the totality of circumstances. Id. at 250-51. The Howe declaration clarifies that “CBP does not have

  any policies that require its officials to draw a weapon or use handcuffs when encountering a traveler

  who is a potential or confirmed match to the TSDB.” Howe Decl. ¶ 12. It is unclear, what, if any

  further information Plaintiffs are seeking to compel, and to the extent providing that information

  would require detailed information about CBP’s specific techniques and procedures, Defendants

  have properly asserted privilege over that information, as discussed above.

          The procedures applied to TSDB listees during CBP secondary inspection. Pls.’ 2d Mot. at

  16. This request is overbroad and vague—plaintiffs do not clarify what kind of information they

  seek, and this request could apply to a wide array of protocols or procedures. Specific information

  about techniques and procedures that are employed by CBP officials who are potential or confirmed

  matches to the TSDB are protected by the law enforcement privilege, because making such

  information public would allow adversaries to circumvent those techniques and procedures, as

  discussed in the Howe Declaration. Howe Decl. ¶ 14.

          Information about the relationship between CBP and FBI. Plaintiffs seek several items in

  this category, including:

          •       Whether CBP “provides information [] learned from an individual’s wallet to [] FBI.”
                  Pls.’ 2d Mot. at 17.
          •       Whether CBP shares the information downloaded from electronic devices to FBI.
                  Pls.’ 2d Mot at 17.
          •       “[W]hether CBP involves the FBI in the secondary inspection process in order to
                  question TSDB listees.” Pls.’ 2d Mot. at 17.

          As explained above, Defendants have provided information about the presence of the FBI at

  the borders, including at depositions and in the instant declarations. See Howe Decl. ¶¶ 18-19; 2d

  Groh Decl. ¶¶ 46-48, McGarrity Decl. ¶ 16. For example, the CBP deponent answered questions on

  this topic at the deposition. When asked “Does the FBI ever participate in the secondary inspection
                                                   32
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 35 of 42 PageID# 6183



  of an individual listed in the TSDB?”, the deponent testified that CBP conducts border inspections

  and makes the determination of whether to conduct secondary inspection screening, but that FBI

  may be present, and if so might ask questions during secondary inspection. Howe Tr. at 310-11. Mr.

  Howe, the CBP deponent, reiterates in his declaration that a person from an agency providing

  assistance to CBP could “possibly ask the traveler a question” during secondary inspection. Howe

  Decl. ¶ 18; see also McGarrity Decl. ¶ 16 (explaining that FBI may assist CBP with border inspections

  or otherwise become involved at the border for a wide variety of reasons, and providing examples).

          CBP further testified to the fact that “if there is a law enforcement need,” the agency may

  create documentation of the wallets of TSDB listees and travel companions. See Howe Tr. at 270;

  2d Groh Decl. ¶ 46. CBP further provided information about the searches of electronic devices.

  This information was provided to plaintiffs in the Howe Declaration and is available publicly in a

  public guidance document, CBP Directive No. 3340-049A. See Howe Decl. ¶ 17; 2d Groh Decl. ¶

  47. That Directive provides guidance and standard operating procedures for searching, reviewing,

  retaining, and sharing information contained in electronic devices subject to inbound and outbound

  border searches by CBP; it includes information defining the circumstances in which CBP may share

  information found in searches of electronic devices with other agencies. Howe Decl. ¶¶ 16-19.

          This CBP information is also also irrelevant to the procedural due process claim, because the

  internal information sharing between federal agencies for law enforcement purposes does not affect

  their liberty interests or the redress process. Finally, additional information about coordination

  between FBI and CBP is protected by the law enforcement privilege, because disclosure could affect

  other agencies’ law enforcement operations or their ability to effectively carry out their respective

  missions. Howe Decl. ¶ 19; 2d Groh Decl. ¶ 46-48; McGarrity Decl. ¶ 16.

          “Additional information” regarding the CBP’s initial and secondary inspection procedures

  that apply to TSDB listees, including the use of weapons and handcuffs, as well as the personal


                                                     33
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 36 of 42 PageID# 6184



  information it collects and shares with the FBI or TSC. Pls.’ 2d Mot. at 17. This request is vague

  and coextensive with other requests discussed above. The CBP Deponent provided information on

  this topic at the deposition. See Howe Tr. at 242, 250-51. This information is also protected by the

  law enforcement privilege, inasmuch as it requests specific techniques and procedures used by CBP.

  Howe Decl. ¶¶ 12, 14.

          Whether “automated high-risk designations have ever lead [sic] to the CBP nominating

  individuals to the TSDB.” Pls.’ 2d Mot. at 18. The Plaintiffs did not ask this question at

  deposition—instead, they asked a confusingly-worded similar question, specifically, “If an individual

  is listed in TSDB, will they also be given a high risk assessment by ATS?” to which the deponent

  replied that he did not know. See Howe Tr. at 180–81. Defendants have provided Plaintiffs with

  the reasonable suspicion standard which governs the placement of individuals on the TSDB. The

  Howe Declaration provides further information about the ATS system—in particular, the

  declaration notes that “[d]uring inspections resulting from CBP’s use of ATS, CBP officials may

  identify information that may be considered by CBP in assessing whether to nominate an individual

  for inclusion to the TSDB.” See Howe Decl. ¶ 23. However, “the identification by ATS of someone

  for additional inspection does not in and of itself suffice to constitute an adequate basis for a

  nomination to the TSDB.” Howe Decl. ¶ 24.

          Whether CBP has “ever asked TSDB listees to become informants.” Pls.’ 2d Mot. at 19.

  This information is entirely irrelevant to the procedural due process claim in this case because it

  does not pertain to the Plaintiffs deprivation of liberty or the redress procedures available to

  Plaintiffs. This information is also properly law enforcement privileged—disclosing when, if ever,

  CBP potentially recruits informants could compromise ongoing counterterrorism investigations, and

  could cause terrorists to change their behavior to evade detection. Howe Decl. ¶ 15. This

  information is therefore properly law enforcement privileged.


                                                     34
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 37 of 42 PageID# 6185



          “[A]verage number of daily encounters CBP has with individuals on the TSDB.” Pls.’ 2d

  Mot. at 20. CBP has provided testimony on this subject, stating that there were 2,554 encounters in

  2017—or around seven encounters daily. See Howe Tr. at 328 (Q: “Were all of those 2,554

  encounters with CBP to your knowledge?” A: “To my knowledge, yes”). This information is also

  available publicly, and was reiterated in the Howe Declaration. See Howe Decl. ¶ 26; see also, e.g., U.S.

  DOJ, Office of Public Affairs, (Jan. 16, 2018) Press Release 18-38, available at

  https://www.justice.gov/opa/pr/doj-dhs-report-three-out-four-individuals-convicted-international-

  terrorism-and-terrorism. Further information implicated by this request may be subject to the law

  enforcement privilege. Howe Decl. ¶ 26-27 In addition, the information is not relevant to Plaintiffs’

  procedural due process claim, because it does not pertain to Plaintiffs’ alleged deprivation of liberty

  or the redress process available to them.

          CBP Statistics. Plaintiffs seek certain statistical information specific to CBP:

          •   “[N]umber of individuals listed on the TSDB that the CBP arrested in 2017, and how
              many of those arrests were terrorism related.” Pls.’ 2d Mot. at 20.
          •   “The number of individuals listed on the TSDB that CBP has arrested in the last 10
              years and the number of arrests that were terrorism related.” Id.
          •   “The number of U.S. citizens listed on the TSDB that the CBP has arrested in the last 10
              years and the number of arrests that were terrorism related.” Id.

          The Howe Declaration illustrates how collecting this information would be extremely

  burdensome for the agency, because CBP does not separately track this information. “To assemble

  this information would require a manual record-by-record analysis of each arrest made by CBP over

  a ten-year period, and a comparison of whether the individual was listed in the TSDB at that specific

  point in time. Such an endeavor would be enormously burdensome . . .” Howe Decl. ¶ 27. This

  information is also not relevant to Plaintiffs’ procedural due process claim, because this aggregate

  statistical information does not pertain whatsoever to Plaintiffs’ alleged deprivation of liberty or the

  redress process available to them.

                                                     35
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 38 of 42 PageID# 6186



                  iv.     Information Sought From TSA:

           Plaintiffs now seek an untimely list of information specifically from TSA, even though, prior

  to noticing a deposition at the very end of discovery, they had never sought any discovery from TSA

  (other than some limited information from DHSTRIP) in the preceding six months of discovery.

           Additional information about the “rules-based list” system designating passengers as “high-

  risk,” or any examples of what such rules-based lists might entail and how those criteria relate to

  TSA’s nominations to the watchlist. Pls.’ 2d Mot. at 17-18. The TSA deponent provided general

  testimony about the existence of the system and how it operates. See Froemling Tr. 140-44. She

  also testified that the rules-based assessments are separate from the TSDB and that “the rules by

  themselves do not provide the basis for TSA watchlist nominations.” Id. 205-16. It is thus unclear

  what further information Plaintiffs want or how it could possibly relate to their claims. But further

  information is likely protected by the law enforcement privilege, and to constitute SSI. 13 See DEX 7

  (Final Order), Part IV.C; Groh Decl. ¶ 17. Examples of TSA’s risk assessments to identify

  passengers for enhanced security screening is SSI. See DEX 7 (Final Order), Part IV.C. This Court

  lacks jurisdiction to review that determination. See 49 U.S.C. § 46110; Legal Standard discussion,

  supra.

           Number of persons on the Selectee and Expanded Selectee lists. Pls.’ 2d Mot. at 22. This is

  duplicative, at least in part, with information sought in the first motion to compel and from TSC.

  This information is not relevant to the remaining procedural due process claim, because it does not

  pertain to the redress process available to Plaintiffs, nor to the deprivation of liberty. This

  information is SSI, and this Court does not have jurisdiction to review TSA’s designation. See Final

  Order, Part IV. TSA has determined that revealing the total number of individuals on the Selectee



  13
    If Plaintiffs were seeking information about the content of TSA rules, that might require an
  analysis of the application of the state secrets privilege. The rules themselves are generally classified.
                                                      36
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 39 of 42 PageID# 6187



  and Expanded Selectee lists would give adversaries valuable operational knowledge about the

  government’s receipt of intelligence information related to terrorism. Id. In addition, this

  information is protected by the law enforcement privilege. 2d Groh Decl. Part C.

          Average number of enhanced screenings conducted by the TSA each day and each year.

  Pls.’ 2d Mot. at 21. This information is not relevant to the remaining procedural due process claim,

  or even to watchlisting more generally. TSA may designate an individual for secondary screening for

  a wide variety of reasons unrelated to watchlisting. The number of times individuals are designated

  for enhanced security screening on a daily and yearly basis is information that is SSI, and this Court

  does not have jurisdiction to review such designation. See DEX 7 (Final Order) Part IV. TSA

  determined that releasing such information would give terrorists and others knowledge about the

  total percentage of passengers who are designated for enhanced scrutiny screening, including by

  random selection. Id.

          The number of U.S. citizens on the Selectee List and Expanded Selectee lists. Pls.’ 2d Mot.

  at 21. This information is not relevant to the remaining procedural due process claim, because it

  does not pertain to the redress process available to Plaintiffs, nor to the deprivation of liberty. This

  information is protected by the SSI privilege, because TSA determined that it could provide

  terrorists with demographic information that would be detrimental to the security of transportation.

  This Court does not have jurisdiction to review such designation. See Final Order Part IV. It is also

  protected by the law enforcement privilege. 2d Groh Decl. Part C.

          The number of enhanced screenings that have led to a terrorism related arrest. Pls.’ 2d Mot

  at 21. This information is not relevant to Plaintiffs’ claims because it does not pertain to the

  deprivation of liberty or the redress process available to plaintiffs. That number provides no

  illumination on either the Government’s interest or the Plaintiffs’ interest in redress. The request is

  too vague to answer in any event because Defendants do not know what it means for a screening to


                                                     37
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 40 of 42 PageID# 6188



  “have led to a terrorism related arrest.” Plaintiffs could be seeking solely the number of times

  individuals are arrested at airports for terrorism-related contraband or they could be seeking a

  broader (but vaguer and probably unknowable) analysis of when enhanced screening contributes to

  an investigation in anyway and eventually “leads to” an arrest. Furthermore, TSA officers at airport

  checkpoints do not have the authority to arrest any passenger, regardless of the situation, although

  TSA does call for law enforcement assistance when deemed necessary. See TSA, Myth Busters: Do

  TSA Officers Arrest Passengers?, available at https://www.tsa.gov/blog/2016/07/03/tsa-myth-

  busters-do-tsa-officers-arrest-passengers. In addition, “enhanced screening” is broad and it is

  unclear whether it refers to the number of passengers that TSA’s Secure Flight system designates for

  enhanced screening or whether it includes additional screening for other reasons, such as an alarm at

  the checkpoint.

          The number of “potential matches to the TSDB which the TSA determines after evaluations

  not to be matches to the TSDB.” Id. It is unclear exactly what Plaintiffs mean exactly by “potential

  matches” and “matches” or in what context the question is asked. In any event, this information is

  not relevant to Plaintiffs’ claim, because it does not address the redress process or their deprivation

  of liberty. If TSA determines that someone is not a match, they are screened accordingly.

                                             CONCLUSION

          For the foregoing reasons, Plaintiffs’ motion to compel should be denied.




                                                     38
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 41 of 42 PageID# 6189



  Dated: April 27, 2018                 Respectfully submitted,

                                        TRACY DOHERTY-MCCORMICK
                                        Acting United States Attorney

                                        CHAD A. READLER
                                        Acting Assistant Attorney General
                                        Civil Division

                                        ANTHONY J. COPPOLINO
                                        Deputy Director, Federal Programs Branch

                                        AMY POWELL
                                        Trial Attorney, Federal Programs Branch
                                        Civil Division, Department of Justice
                                        310 New Bern Avenue, Suite 800
                                        Federal Building
                                        Raleigh, NC 27601-1461
                                        Phone: 919-856-4013
                                        Email: amy.powell@usdoj.gov

                                        ANTONIA KONKOLY
                                        DENA ROTH
                                        CHRISTOPHER R. HEALY
                                        Trial Attorneys
                                        United States Department of Justice
                                        Civil Division, Federal Programs Branch
                                        20 Massachusetts Avenue NW, Room 7324
                                        Washington, DC 20530
                                        Tel: (202) 514-2395
                                        amy.powell@usdoj.gov
                                        dena.m.roth@usdoj.gov
                                        antonia.konkoly@usdoj.gov
                                        christopher.healy@usdoj.gov

                                        /s/ Lauren A. Wetzler
                                        LAUREN A. WETZLER
                                        Chief, Civil Division
                                        Assistant United States Attorney
                                        2100 Jamieson Ave.,
                                        Alexandria, VA. 22314
                                        Tel: (703) 299-3752
                                        Fax: (703) 299-3983
                                        Lauren.Wetzler@usdoj.gov

                                        Attorneys for Defendants



                                       39
Case 1:16-cv-00375-AJT-JFA Document 196 Filed 04/27/18 Page 42 of 42 PageID# 6190




                                    CERTIFICATE OF SERVICE


          I hereby certify that on April 27, 2018, I filed the foregoing via the CM/ECF system, which

  will send a Notification of Electronic Filing to all counsel of record.


  /s/ Lauren A. Wetzler
  LAUREN A. WETZLER
  Chief, Civil Division
  Assistant United States Attorney
  Office of the United States Attorney
  2100 Jamieson Ave.,
  Alexandria, VA. 22314
  Tel: (703) 299-3752
  Fax: (703) 299-3983
  Lauren.Wetzler@usdoj.gov




                                                     40
